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                      EXHIBIT A
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


 In re:
                                                          Chapter 11
 Lordstown Motors Corp, et al.,1
                                                          Case No. 23-10831 (MFW)
                            Debtors.
                                                          (Jointly Administered)



                      ORDER SCHEDULING OMNIBUS HEARING DATE

          Upon the Certification of Counsel Regarding Order Scheduling Omnibus Hearing Date,

and pursuant to rule 2002-1(a) of the Local Rules of Bankruptcy Practice and Procedure of the

United States Bankruptcy Court for the District of Delaware it is hereby

          ORDERED, ADJUDGED AND DECREED THAT:

          1.     The following date and time has been scheduled as an omnibus hearing in the

above-captioned chapter 11 cases:

          Date & Time                                                 Location

          March 14, 2024 at 3:00 p.m.(ET)                             U.S. Bankruptcy Court for the
          (Interim Fee Hearing)                                       District of Delaware,
                                                                      824 North Market Street,
                                                                      5th Floor, Courtroom 4,
                                                                      Wilmington, Delaware 19801




          1
           The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown
Motors Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.



WBD (US) 4891-6097-2708v1
